Case 2:05-Cv-02248-.]PI\/|-tmp Document 12 Filed 06/15/05 Page 1 of 2 Page|D 13

 

Hux>gg
IN THE UNITED sTATEs DISTRICT coURT ~~» 1.&0.
FoR THE wEsTERN DISTRICT oF TENNESSEE USJUN
wEsTERN DIvIsIoN “'5 FN 2=56
33353 3 1
§LE"R»‘)§"G§§{Y#J
zim.or`;N 333333
RACHEL DEAN,
Plaintiff,

vs. Civ. No. 05-2248-Ml[P
PATRICK JOYNT, et al.,

Defendants.

vv\_nh_z~_r\_¢v\_¢-\_rv'~_¢

 

ORDER GRANTING PLAINTIFF'S MOTION FOR
LEAVE TO FILE AMENDED COMPLAINT

 

Before the court is plaintiff Rachel Dean'e Motion for Leave
to File Complaint, which the Court will treat as a motion to amend
the oomplaint, filed May 20, 2005 (dkt #7). Pursuant to Rule
lS(a), and defendants having not timely filed any opposition

thereto, the motion is hereby GRANTED.

M

TU M. PHAM
United States Magistrate Judge

IT IS SO ORDERED.

 

`\ mm \J"j a'<|ts.>/
Date '

 

mmadocwnentenuwedomthedocnet hee1. .nco>fnance
_,/ ., ')
1»--¢11|1|*!:.1|9 58 and/or 79(3) FFIGF‘ on

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:05-CV-02248 Was distributed by faX, mail, or direct printing on
June 16, 2005 to the parties listed.

EssEE

 

Chris Turner

GENERAL SESSIONS COURT
Courthouse

140 Adams Avenue

1\/lemphis7 TN 38103

Rachel Dean
1470 Carr Avenue
1\/lemphis7 TN 3 8104

Henry L. Klein

APPERSON CRUl\/[P & MAXWELL, PLC
6000 Poplar Ave.

Ste. 400

1\/lemphis7 TN 38119--397

Heather Anne Kirksey

CITY ATTORNEYS OFFICE
125 N. Main Street

Rm. 3 14

1\/lemphis7 TN 38103

lay Marshall Atkins

LEITNER WILLIAMS DOOLEY & NAPOLITAN-Memphis

254 Court Ave.
Second Floor
1\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

